     Case 3:19-cv-00178-MMD-WGC Document 15 Filed 07/31/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA


THOMAS D. JENSEN,                    )                 3:19-cv-00178-MMD-WGC
                                     )
                        Plaintiff,   )                 MINUTES OF THE COURT
        vs.                          )
                                     )                 July 31, 2020
HAROLD WICKHAM, et al.,              )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:         KAREN WALKER            REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

      Before the court is Plaintiff’s “Motion for Extension of Time and Order Requiring
U.S. Marshal to Serve Defendant” (ECF No. 14). Plaintiff requests the court order the Attorney
General to locate the full name of Defendant “Peters” and also requests additional time to serve
Defendant Peters.

        IT IS HEREBY ORDERED that Plaintiff’s “Motion for Extension of Time and Order
Requiring U.S. Marshal to Serve Defendant” (ECF No. 14) is GRANTED to the extent that
Plaintiff shall have to and including Friday, September 18, 2020, in which to effect service as to
Defendant Peters.

        IT IS FURTHER ORDERED that Plaintiff’s request to have the Attorney General locate
the full name of Defendant Peters is DENIED without prejudice. The Attorney General has
already stated in the Notice of Appearance that “service is not accepted on behalf of ‘Peters,’ who
after reasonable inquiry and due diligence, IS not identifiable.” (ECF No. 9 at 2.) If Plaintiff can
find additional identifiable information as to Defendant “Peters,” the court will reconsider
Plaintiff’s motion.

                                              DEBRA K. KEMPI, CLERK
                                              By:      /s/______________________
                                                  Deputy Clerk
